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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DMSION             By;""""""""-1~~~




UNITEDSTATESOFAMrniDCA

vs.


                                  CLERK MINUTE
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BEFORE U. S. MAGISTRATE niDGJ.TiiOMAS RAY
LITTLE ROC~ ARKANSAS
COURTROOM #lC

ASSISTANTU.S.ATIO~Y: ~
DEFENSE COUNSEL:
U.S. PROBATION     OFF!~+-==                             )   ~a..f_..;~
COURT BEGAN:;>_: '35 P. rn. -
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